     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 1 of 19


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16                        UNITED STATES DISTRICT COURT
17                       EASTERN DISTRICT OF CALIFORNIA
18
19   ROBERT BIELBY, an individual;            Case No. 2:23-cv-2356-KJM-CKD
20                  Plaintiff,                STIPULATED PROTECTIVE
                                              ORDER
21         v.
22   MICRON TECHNOLOGY INC., a
     Delaware corporation; and Does 1-10,
23   inclusive;
24                  Defendants.
25
26
27
28
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 2 of 19


 1   1.    A.     PURPOSES AND LIMITATIONS
 2         Discovery in this action is likely to involve production of confidential,
 3   proprietary, or private information for which special protection from public
 4   disclosure and from use for any purpose other than prosecuting this litigation may
 5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 6   enter the following Stipulated Protective Order. The parties acknowledge that this
 7   Order does not confer blanket protections on all disclosures or responses to
 8   discovery and that the protection it affords from public disclosure and use extends
 9   only to the limited information or items that are entitled to confidential treatment
10   under the applicable legal principles. The parties further acknowledge, as set forth
11   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
12   file confidential information under seal; Local Rule 141 sets forth the procedures
13   that must be followed and the standards that will be applied when a party seeks
14   permission from the court to file material under seal.
15         The entry of this Stipulated Protective Order does not alter, waive, modify, or
16   abridge any right, privilege or protection otherwise available to any Party with
17   respect to the discovery of matters, including but not limited to any Party’s right to
18   assert the attorney-client privilege, the attorney work product doctrine, or other
19   privileges, or any Party’s right to contest any such assertion.
20         B.     GOOD CAUSE STATEMENT
21         This action is likely to involve personal, commercial, and/or proprietary
22   information for which special protection from public disclosure and from use for
23   any purpose other than prosecution of this action is warranted. Such confidential
24   and proprietary materials and information consist of, among other things,
25   confidential business or financial information, information regarding confidential
26   business practices, or other confidential research, development, or commercial
27   information (including information implicating privacy rights of third parties),
28                                                                     [PROPOSED] STIPULATED
                                                                            PROTECTIVE ORDER
                                               -1-                CASE NO. 2:23-cv-2356-KJM-CKD
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 3 of 19


 1   sensitive personal information including employment records, medical records,
 2   information otherwise generally unavailable to the public, or which may be
 3   privileged or otherwise protected from disclosure under state or federal statutes,
 4   court rules, case decisions, or common law. Accordingly, to expedite the flow of
 5   information, to facilitate the prompt resolution of disputes over confidentiality of
 6   discovery materials, to adequately protect information the parties are entitled to keep
 7   confidential, to ensure that the parties are permitted reasonable necessary uses of
 8   such material in preparation for and in the conduct of trial, to address their handling
 9   at the end of the litigation, and serve the ends of justice, a protective order for such
10   information is justified in this matter. It is the intent of the parties that information
11   will not be designated as confidential for tactical reasons and that nothing be
12   so designated without a good faith belief that it has been maintained in a
13   confidential, non-public manner, and there is good cause why it should not be part
14   of the public record of this case.
15   2.    DEFINITIONS
16         2.1    Action: Bielby v. Micron Technology, Inc. (Case No. 2:23-cv-
17   02356-KJM-CKD).
18         2.2    Challenging Party: a Party or Non-Party that challenges
19   the designation of information or items under this Order.
20         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
21   how it is generated, stored or maintained) or tangible things that qualify for
22   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
23   the Good Cause Statement.
24         2.4    “CONFIDENTIAL—Attorneys’ Eyes Only” means a party believes in
25   good faith that, despite the provisions of this Protective Order, there is a substantial
26   risk of identifiable harm to the Producing Party or a Non-Party if particular
27   documents it designates as “Confidential” are disclosed to all other parties or non-
28   parties to this action. When this occurs, the Producing Party may designate those
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 4 of 19


 1   particular documents as “CONFIDENTIAL—Attorneys’ Eyes Only.”
 2          2.5    Counsel: Outside Counsel of Record and House Counsel (as well as
 3   their support staff).
 4          2.6    Designating Party: a Party or Non-Party that designates information or
 5   items that it produces in disclosures or in responses to discovery as
 6   “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only.”
 7          2.7    Disclosure or Discovery Material: all items or information, regardless
 8   of the medium or manner in which it is generated, stored, or maintained (including,
 9   among other things, testimony, transcripts, and tangible things), that are produced
10   or generated in disclosures or responses to discovery in this matter.
11          2.8    Expert: a person with specialized knowledge or experience in a matter
12   pertinent to the litigation who has been retained by a Party or its counsel to serve as
13   an expert witness or as a consultant in this Action.
14          2.9    House Counsel: attorneys who are employees of a party to this Action.
15   House Counsel does not include Outside Counsel of Record or any other outside
16   counsel.
17          2.10 Non-Party: any natural person, partnership, corporation, association, or
18   other legal entity not named as a Party to this action.
19          2.11 Outside Counsel of Record: attorneys who are not employees of a party
20   to this Action but are retained to represent or advise a party to this Action and have
21   appeared in this Action on behalf of that party or are affiliated with a law firm which
22   has appeared on behalf of that party, and includes support staff.
23          2.12 Party: any party to this Action, including all of its officers, directors,
24   employees, consultants, retained experts, and Outside Counsel of Record (and their
25   support staff).
26          2.13 Producing Party: a Party or Non-Party that produces Disclosure or
27   Discovery Material in this Action.
28          2.14 Professional Vendors: persons or entities that provide litigation support
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 5 of 19


 1   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 2   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 3   and their employees and subcontractors.
 4         2.15 Protected Material: any Disclosure or Discovery Material that is
 5   designated as “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only.”
 6         2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
 7   from a Producing Party.
 8   3.    SCOPE
 9         The protections conferred by this Stipulation and Order cover not only
10   Protected Material (as defined above), but also (1) any information copied or
11   extracted from Protected Material; (2) all copies, excerpts, summaries, or
12   compilations of Protected Material; and (3) any testimony, conversations, or
13   presentations by Parties or their Counsel that might reveal Protected Material.
14         Any use of Protected Material at trial shall be governed by the orders of the
15   trial judge. This Order does not govern the use of Protected Material at trial.
16   4.    DURATION
17          Even after final disposition of this litigation, the confidentiality obligations
18   imposed by this Order shall remain in effect until a Designating Party agrees
19   otherwise in writing or a court order otherwise directs. Final disposition shall be
20   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
21   or without prejudice; and (2) final judgment herein after the completion and
22   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
23   including the time limits for filing any motions or applications for extension of time
24   pursuant to applicable law.
25   5.    DESIGNATING PROTECTED MATERIAL
26         5.1    Exercise of Restraint and Care in Designating Material for Protection.
27   Each Party or Non-Party that designates information or items for protection under
28   this Order must take care to limit any such designation to specific material that
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 6 of 19


 1   qualifies under the appropriate standards. The Designating Party must designate for
 2   protection only those parts of material, documents, items, or oral or written
 3   communications that qualify so that other portions of the material, documents,
 4   items, or communications for which protection is not warranted are not swept
 5   unjustifiably within the ambit of this Order.
 6         Mass, indiscriminate, or routinized designations are prohibited. Designations
 7   that are shown to be clearly unjustified or that have been made for an improper
 8   purpose (e.g., to unnecessarily encumber the case development process or to impose
 9   unnecessary expenses and burdens on other parties) may expose the Designating
10   Party to sanctions.
11         If it comes to a Designating Party’s attention that information or items that it
12   designated for protection do not qualify for protection, that Designating Party must
13   promptly notify all other Parties that it is withdrawing the inapplicable designation.
14         5.2    Manner and Timing of Designations. Except as otherwise provided in
15   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
16   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
17   under this Order must be clearly so designated before the material is disclosed or
18   produced.
19         Designation in conformity with this Order requires:
20                (a) for information in documentary form (e.g., paper or electronic
21   documents, but excluding transcripts of depositions or other pretrial or trial
22   proceedings), that the Producing Party affix at a minimum, the legend
23   “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only” (hereinafter
24   “CONFIDENTIAL legend”), to each page that contains protected material. If only
25   a portion or portions of the material on a page qualifies for protection, the Producing
26   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
27   markings in the margins).
28         A Party or Non-Party that makes original documents available for inspection
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 7 of 19


 1   need not designate them for protection until after the inspecting Party has indicated
 2   which documents it would like copied and produced. During the inspection and
 3   before the designation, all of the material made available for inspection shall be
 4   deemed “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only.” After
 5   the inspecting Party has identified the documents it wants copied and produced, the
 6   Producing Party must determine which documents, or portions thereof, qualify for
 7   protection under this Order. Then, before producing the specified documents, the
 8   Producing Party must affix the “CONFIDENTIAL legend” to each page that
 9   contains Protected Material. If only a portion or portions of the material on a page
10   qualifies for protection, the Producing Party also must clearly identify the protected
11   portion(s) (e.g., by making appropriate markings in the margins).
12            (b) for testimony given in depositions the Designating Party may either (i)
13 identify on the record, before the close of the deposition, all “CONFIDENTIAL”
14 testimony, by specifying all portions of the testimony that qualify as
15 “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only” or (ii)
16 designate the entirety of the testimony at the deposition, including the exhibits, as
17 “CONFIDENTIAL” (before the deposition is concluded) or “CONFIDENTIAL—
18 Attorneys’ Eyes Only” with the right to identify more specific portions of the
19 testimony as to which protection is sought within 30 days following receipt of the
20 deposition transcript. In circumstances where portions of the deposition testimony
21 are designated for protection, the transcript pages containing “CONFIDENTIAL”
22 information may be separately bound by the court reporter, who must affix to the top
23 of each page the legend “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’
24 Eyes Only” as instructed by the Designating Party.
25            (c) for information produced in some form other than documentary and for
26 any other tangible items, that the Producing Party affix in a prominent place on the
27 exterior of the container or containers in which the information is stored the legend
28 “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only.” If only a
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 8 of 19


 1 portion or portions of the information warrants protection, the Producing Party, to
 2 the extent practicable, shall identify the protected portion(s).
 3            5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent
 4 failure to designate qualified information or items does not, standing alone, waive
 5 the Designating Party’s right to secure protection under this Order for such material.
 6 Upon timely correction of a designation, the Receiving Party must make reasonable
 7 efforts to assure that the material is treated in accordance with the provisions of this
 8 Order.
 9            5.4 Designation of “CONFIDENTIAL—Attorneys’ Eyes Only”: If a
10 Producing Party believes in good faith that, despite the provisions of this Protective
11 Order, there is a substantial risk of identifiable harm to the Producing Party or a Non-
12 Party if particular documents it designates as “Confidential” are disclosed to all other
13 parties or non-parties to this action, the Producing Party may designate those
14 particular documents as “CONFIDENTIAL—Attorneys’ Eyes Only.”
15   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
16          6.1   Timing of Challenges. Any Party or Non-Party may challenge a
17   designation of confidentiality at any time that is consistent with the Court’s
18   Scheduling Order.
19          6.2   Meet and Confer. The Challenging Party shall initiate an attempt to
20   meet and confer concerning the designation of confidentiality within 10 days from
21   the date the challenge is made. If the parties are unable to resolve the dispute, the
22   Challenging Party may seek appropriate relief from the court.
23          6.3   The burden of persuasion in any such challenge proceeding shall be on
24   the Designating Party. Frivolous challenges, and those made for an improper
25   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
26   parties) may expose the Challenging Party to sanctions. Unless the Designating
27   Party has waived or withdrawn the confidentiality designation, all parties shall
28   continue to afford the material in question the level of protection to which it is
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 9 of 19


 1   entitled under the Producing Party’s designation until the Court rules on the
 2   challenge.
 3   7.   ACCESS TO AND USE OF PROTECTED MATERIAL
 4         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 5   disclosed or produced by another Party or by a Non-Party in connection with this
 6   Action only for prosecuting, defending, or attempting to settle this Action. Such
 7   Protected Material may be disclosed only to the categories of persons and under the
 8   conditions described in this Order. When the Action has been terminated, a
 9   Receiving Party must comply with the provisions of section 13 below (FINAL
10   DISPOSITION).
11         Protected Material must be stored and maintained by a Receiving Party at a
12   location and in a secure manner that ensures that access is limited to the persons
13   authorized under this Order.
14         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
15   otherwise ordered by the court or permitted in writing by the Designating Party, a
16   Receiving    Party    may      disclose   any   information   or   item   designated
17   “CONFIDENTIAL” only to:
18            (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
19   as employees of said Outside Counsel of Record to whom it is reasonably necessary
20   to disclose the information for this Action;
21            (b) the officers, directors, and employees (including House Counsel) of the
22   Receiving Party to whom disclosure is reasonably necessary for this Action;
23            (c) Experts (as defined in this Order) of the Receiving Party to whom
24   disclosure is reasonably necessary for this Action and who have signed the
25   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
26            (d) the court and its personnel;
27            (e) court reporters and their staff;
28            (f) professional jury or trial consultants, mock jurors, and Professional
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 10 of 19


 1    Vendors to whom disclosure is reasonably necessary for this Action and who have
 2    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 3             (g) the author or recipient of a document containing the information or a
 4    custodian or other person who otherwise possessed or knew the information;
 5             (h) any deposition or non-trial hearing witness in the Action who
 6    previously did not have access to the Protected Material; provided, however, that
 7    each such witness given access to Protected Material shall be advised that such
 8    Materials are being disclosed pursuant to, and are subject to, the terms of this
 9    Stipulation and Protective Order and that they may not be disclosed other than
10    pursuant to its terms;
11             (i) any mediator or settlement officer, and their supporting personnel,
12    mutually agreed upon by any of the parties engaged in settlement discussions; and
13             (j) any other person that the Designating Party agrees to in writing.
14          7.3    Disclosure     of    “CONFIDENTIAL—Attorneys’           Eyes        Only”
15    Information or Items. Unless otherwise ordered by the court or permitted in writing
16    by the Designating Party, access to and/or disclosure of materials designated as
17    “CONFIDENTIAL—Attorneys’ Eyes Only” shall be permitted only to the
18    following individuals:
19             (a) the Receiving Party’s House Counsel and Outside Counsel of Record
20    in this Action, as well as employees of said Counsel to whom it is reasonably
21    necessary to disclose the information for this Action;
22             (c) Experts (as defined in this Order) of the Receiving Party to whom
23    disclosure is reasonably necessary for this Action and who have signed the
24    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
25             (d) the court and its personnel;
26             (e) court reporters and their staff;
27             (g) the author or recipient of a document containing the information or a
28    custodian or other person who otherwise possessed or knew the information;
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 11 of 19


 1              (i) any mediator or settlement officer, and their supporting personnel,
 2    mutually agreed upon by any of the parties engaged in settlement discussions; and
 3              (j) any other person that the Designating Party agrees to in writing.
 4            This provision shall not bar any attorney herein in the course of rendering
 5    advice to his/her client with respect to this litigation from conveying to the Party
 6    client his/her evaluation of “CONFIDENTIAL—Attorneys’ Eyes Only”
 7    information produced or exchanged herein, but only in general terms as opposed to
 8    the specific information, provided, however, that in rendering such advice and
 9    otherwise communicating with his/her client, the attorney shall deliver a copy of this
10    Stipulation and Protective Order to such person, and shall explain that such person
11    is bound to follow the terms of such Order, and shall secure the signature of such
12    person on a statement in the “Acknowledgment and Agreement to Be Bound”
13    attached hereto as Exhibit A.
14    8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
15    IN OTHER LITIGATION
16            If a Party is served with a subpoena or a court order issued in other litigation
17    that compels disclosure of any information or items designated in this Action as
18    “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only” that Party
19    must:
20            (a)      promptly notify in writing the Designating Party. Such notification
21    shall include a copy of the subpoena or court order;
22            (b)      promptly notify in writing the party who caused the subpoena or order
23    to issue in the other litigation that some or all of the material covered by the
24    subpoena or order is subject to this Protective Order. Such notification shall include
25    a copy of this Stipulated Protective Order; and
26            (c)      cooperate with respect to all reasonable procedures sought to be
27    pursued by the Designating Party whose Protected Material may be affected.
28                  If the Designating Party timely seeks a protective order, the Party served
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 12 of 19


 1    with the subpoena or court order shall not produce any information designated in
 2    this action as “CONFIDENTIAL” or “CONFIDENTIAL—Attorneys’ Eyes Only”
 3    before a determination by the court from which the subpoena or order issued, unless
 4    the Party has obtained the Designating Party’s permission. The Designating Party
 5    shall bear the burden and expense of seeking protection in that court of its
 6    confidential material and nothing in these provisions should be construed as
 7    authorizing or encouraging a Receiving Party in this Action to disobey a lawful
 8    directive from another court.
 9    9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
10    PRODUCED IN THIS LITIGATION
11          (a)    The terms of this Order are applicable to information produced by a
12    Non-Party    in   this   Action    and   designated    as   “CONFIDENTIAL”          or
13    “CONFIDENTIAL—Attorneys’ Eyes Only.” Such information produced by Non-
14    Parties in connection with this litigation is protected by the remedies and relief
15    provided by this Order. Nothing in these provisions should be construed as
16    prohibiting a Non-Party from seeking additional protections.
17          (b)    In the event that a Party is required, by a valid discovery request, to
18    produce a Non-Party’s confidential information in its possession, and the Party is
19    subject to an agreement with the Non-Party not to produce the Non-Party’s
20    confidential information, then the Party shall:
21                 (1) promptly notify in writing the Requesting Party and the Non-Party
22    that some or all of the information requested is subject to a confidentiality agreement
23    with a Non-Party;
24                 (2) promptly provide the Non-Party with a copy of the Stipulated
25    Protective Order in this Action, the relevant discovery request(s), and a reasonably
26    specific description of the information requested; and
27                 (3) make the information requested available for inspection by the
28    Non-Party, if requested.
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 13 of 19


 1          (c)    If the Non-Party fails to seek a protective order from this court within
 2    14 days of receiving the notice and accompanying information, the Receiving Party
 3    may produce the Non-Party’s confidential information responsive to the discovery
 4    request. If the Non-Party timely seeks a protective order, the Receiving Party shall
 5    not produce any information in its possession or control that is subject to the
 6    confidentiality agreement with the Non-Party before a determination by the court.
 7    Absent a court order to the contrary, the Non-Party shall bear the burden and
 8    expense of seeking protection in this court of its Protected Material.
 9    10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
10          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
11    Protected Material to any person or in any circumstance not authorized under this
12    Stipulated Protective Order, the Receiving Party must immediately (a) notify in
13    writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
14    to retrieve all unauthorized copies of the Protected Material, (c) inform the person
15    or persons to whom unauthorized disclosures were made of all the terms of this
16    Order, and (d) request such person or persons to execute the “Acknowledgment and
17    Agreement to Be Bound” that is attached hereto as Exhibit A.
18    11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
19    PROTECTED MATERIAL
20          The production of privileged or work-product protected material, whether
21    inadvertent or otherwise, is not a waiver of the privilege or protection from
22    discovery in this case or in other federal or state proceeding. This order shall be
23    interpreted to provide the maximum protection allowed by Federal Rule of Evidence
24    502(d). Subject to the provisions of this order, if the Producing Party discloses
25    information in connection with this case that the Producing Party thereafter claims
26    to be privileged or protected by the attorney-client privilege or work product
27    protection (i.e., “Privileged Information”), the disclosure of that Privileged
28    Information will not constitute or be deemed a waiver or forfeiture—in this or any
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 14 of 19


 1    other action—of any claim of privilege or work product protection that the
 2    Producing Party would otherwise be entitled to assert with respect to the Privileged
 3    Information and its subject matter.
 4          11.1 Notification Requirements; Best Efforts of Receiving Party. A
 5    Producing Party must promptly notify the Receiving Party receiving the Privileged
 6    Information, in writing, that it has disclosed that Privileged Information without
 7    intending a waiver by the disclosure. Upon such notification, the Receiving Party
 8    must—unless it contests the claim of attorney-client privilege or work product
 9    protection in accordance with Paragraph 11.1(a) in which case it will follow the
10    procedures outlined below—promptly (i) notify the Producing Party that it will
11    make best efforts to identify and return, sequester or destroy (or in the case of
12    electronically stored information, delete) the Privileged Information and any
13    reasonably accessible copies it has, (ii) provide a certification that it has ceased
14    further review, dissemination, and use of the Privileged Information, and (iii)
15    provide a certification that the Privileged Information has been destroyed or
16    returned. Within five (5) business days of receipt of the notification from the
17    Receiving Party, the Producing Party must produce a privilege log setting forth the
18    basis for the claim of privilege. For purposes of this order, Privileged Information
19    that has been stored on a source of electronically stored information that is not
20    reasonably accessible, such as backup storage media, is sequestered. If such data is
21    retrieved, the Receiving Party must promptly take steps to delete or sequester the
22    restored Privileged Information. If a Receiving Party contests the claim of privilege
23    being made pursuant to Paragraph 11.1(a) below, the Receiving Party must
24    promptly (i) notify the producing Party of its claim in writing, (ii) take immediate
25    steps to cease further review, dissemination or use of the Privileged Information,
26    and (iii) confirm in writing that it has complied with Paragraph 11.1 and further
27    certify the destruction or return of Privileged Information.
28          (a)    Contesting Claim of Privilege or Work Product Protection. If the
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 15 of 19


 1    Receiving Party contests the claim of attorney-client privilege or work product
 2    protection, the Receiving Party must—within five (5) business days of receipt of the
 3    Producing Party’s privilege log—move the Court for an Order compelling disclosure
 4    of the information claimed as unprotected (a “Disclosure Motion”). The Disclosure
 5    Motion must be filed under seal and must not assert as a ground for compelling
 6    disclosure the fact or circumstances of the disclosure. Pending resolution of the
 7    Disclosure Motion, the Receiving Party must not use the challenged information in
 8    any way or disclose it to any person other than those required by law to be served
 9    with a copy of the sealed Disclosure Motion.
10          (b)   The parties may stipulate to extend the time periods set forth in the
11    preceding paragraphs.
12          (c)   Attorney’s Ethical Responsibilities. Nothing in this order overrides any
13    attorney’s ethical responsibilities to refrain from examining or disclosing materials
14    that the attorney knows or reasonably should know to be privileged and to inform the
15    Producing Party that such materials have been produced.
16          (d)   If a Party receiving Information has reason to believe that Disclosed
17    Information may reasonably be subject to a claim of privilege, then the Party
18    receiving such information shall immediately sequester the information, cease using
19    the information and cease using any work product containing the information, and
20    shall inform the Party that disclosed such information of the beginning BATES
21    number of the document or, if no BATES number is available, shall otherwise inform
22    the Party that made the disclosure of such information. If a Receiving Party learns
23    that, by inadvertence or otherwise, it has disclosed Privileged Information to any
24    person or in any circumstance not authorized under this Order, the Receiving Party
25    must immediately (a) notify in writing the Designating Party of the unauthorized
26    disclosures, (b) use its best efforts to retrieve and/or certify destruction of all
27    unauthorized copies of the Privileged Information, (c) inform the person or persons
28    to whom unauthorized disclosures were made of all the terms of this Order, and (d)
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 16 of 19


 1    request such person or persons to execute the “Acknowledgment and Agreement to
 2    Be Bound” that is attached hereto as Exhibit A.
 3    12.   MISCELLANEOUS
 4          12.1          Right to Further Relief. Nothing in this Order abridges the right
 5    of any person to seek its modification by the Court in the future.
 6          12.2.         Right to Assert Other Objections. By stipulating to the entry of
 7    this Protective Order no Party waives any right it otherwise would have to object to
 8    disclosing or producing any information or item on any ground not addressed in this
 9    Stipulated Protective Order. Similarly, no Party waives any right to object on any
10    ground to use in evidence of any of the material covered by this Protective Order.
11          12.3          Filing Protected Material. A Party that seeks to file under seal
12    any Protected Material must comply with Civil Local Rule 141. Protected Material
13    may only be filed under seal pursuant to a court order authorizing the sealing of the
14    specific Protected Material at issue. If a Party's request to file Protected Material
15    under seal is denied by the court, then the Receiving Party may file the information
16    in the public record unless otherwise instructed by the court.
17          12.4          After this Stipulated Protective Order has been signed by counsel
18    for all Parties, it shall be presented to the Court for entry. Counsel agree to be bound
19    by the terms set forth herein with regard to any Confidential Materials that have
20    been produced before the Court signs this Stipulated Protective Order.
21          12.5          A copy of this Stipulated Protective Order shall be served with
22    any subpoena or deposition notice compelling the production of documents or
23    information from any third party.
24    13.   FINAL DISPOSITION
25          After the final disposition of this Action, as defined in paragraph 4, within 60
26    days of a written request by the Designating Party, each Receiving Party must return
27    all Protected Material to the Producing Party or destroy such material. As used in
28    this subdivision, “all Protected Material” includes all copies, abstracts,
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 17 of 19


 1    compilations, summaries, and any other format reproducing or capturing any of the
 2    Protected Material. Whether the Protected Material is returned or destroyed, at the
 3    request of the Designating Party, the Receiving Party must submit a written
 4    certification to the Producing Party (and, if not the same person or entity, to the
 5    Designating Party) by the 60 day deadline that (1) identifies (by category, where
 6    appropriate) all the Protected Material that was returned or destroyed and (2) affirms
 7    that the Receiving Party has not retained any copies, abstracts, compilations,
 8    summaries or any other format reproducing or capturing any of the Protected
 9    Material. Notwithstanding this provision, Counsel are entitled to retain an archival
10    copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
11    memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
12    work product, and consultant and expert work product, even if such materials
13    contain Protected Material. Any such archival copies that contain or constitute
14    Protected Material remain subject to this Protective Order as set forth in Section 4
15    (DURATION).
16    14.   Any violation of this Order may be punished by any and all appropriate
17    measures including, without limitation, contempt proceedings and/or monetary
18    sanctions.
19    15.   This Stipulated Protective Order may be executed in counterparts.
20
21    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
22
      Dated: December 22, 2023                     JONES DAY
23
24
                                                   By: /s/ Rick Bergstrom
25                                                    Rick Bergstrom
26                                                 Attorneys for Defendant MICRON
27                                                 TECHNOLOGY INC.

28
     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 18 of 19

      Dated: December 21, 2023             KING & SIEGEL LLP
 1
 2
 3                                          By: /s/ Robert J. King (as authorized on
                                            12/21/2023)
 4                                              Julian Burns King
 5                                              Robert J. King
                                                Erum Siddiqui
 6
 7                                         Attorneys for Plaintiff ROBERT
                                           BIELBY
 8
 9
      ///
10
      ///
11
      ///
12
                                       ORDER
13
            GOOD CAUSE APPEARING, the Court hereby approves this Stipulation
14
      and Protective Order.
15
            IT IS SO ORDERED.
16
      Dated: January 3, 2024
17                                         _____________________________________
18                                         CAROLYN K. DELANEY
                                           UNITED STATES MAGISTRATE JUDGE
19
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     Case 2:23-cv-02356-KJM-CKD Document 14 Filed 01/03/24 Page 19 of 19


 1                                        EXHIBIT A
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
 4    I,   ________________________            [print     or     type full    name],    of
 5    _________________ [print or type full address], declare under penalty of perjury
 6    that I have read in its entirety and understand the Stipulated Protective Order that
 7    was issued by the United States District Court for the Eastern District of
 8    California on ______________[date] in the case of Bielby v. Micron Technology,
 9    Inc. (Case No. 2:23-cv-02356-KJM-CKD). I agree to comply with and to be bound
10    by all the terms of this Stipulated Protective Order and I understand and
11    acknowledge that failure to so comply could expose me to sanctions and
12    punishment in the nature of contempt. I solemnly promise that I will not disclose
13    in any manner any information or item that is subject to this Stipulated Protective
14    Order to any person or entity except in strict compliance with the provisions of this
15    Order.
16    I further agree to submit to the jurisdiction of the United States District Court for
17    the Eastern District of California for the purpose of enforcing the terms of this
18    Stipulated Protective Order, even if such enforcement proceedings occur after
19    termination of this action. I hereby appoint ________________________ [print
20    or type full name] of __________________ [print or type full address and
21    telephone number] as my California agent for service of process in connection with
22    this action or any proceedings related to enforcement of this Stipulated Protective
23    Order.
24
      Date: __________________________
25
      City and State where sworn and signed: _____________________________
26
      Printed name: ____________________________________
27
      Signature: ________________________________
28
